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                                                                       USDC SDNY
UNITED STATES DISTRICT COURT
                                                                       DOCUMENT
SOUTHERN DISTRICT OF NEW YORK
                                                                       ELECTRONICALLY FILED
 -------------------------------------------------------------- X      DOC #:
  DONALD NIXON, on behalf of himself and                        :      DATE FILED: 8/22/2019
  all others similarly situated,                                :
                                                                :
                                              Plaintiff,        :
                                                                :     19-CV-7803 (VEC)
                            -against-                           :
                                                                :     NOTICE OF INITIAL
                                                                :   PRETRIAL CONFERENCE
  WHIRLPOOL CORPORATION,                                        :      FOR CASES FILED
                                                                :        UNDER THE
                                              Defendant. :            AMERICANS WITH
 -------------------------------------------------------------- :     DISABILITIES ACT
                                                                :
                                                                X

VALERIE CAPRONI, United States District Judge:

        Counsel for all parties are directed to appear before the undersigned for an Initial Pretrial

Conference (“IPTC”) in accordance with Rule 16 of the Federal Rules of Civil Procedure on

January 10, 2020, at 10:00 a.m. in Courtroom 443 of the Thurgood Marshall Courthouse,

40 Foley Square, New York, New York, 10007.

        1.       The Defendant(s)’ time to move against or answer the Complaint is stayed

until the date of the IPTC, unless otherwise ordered.

        2.       Pursuant to section 1.C of the Court’s Individual Practices in Civil Cases, requests

to adjourn the IPTC or any other conference must be made in writing at least 48 hours before the

scheduled conference. The request must state (1) the reason for the proposed adjournment;

(2) the original date of the conference; (3) the number of previous requests for adjournment;

(4) whether the other party or parties consent and, if not, the reason given for refusing consent;

and (5) proposed alternative dates for the IPTC.
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       3.      Plaintiffs are encouraged to serve defendants promptly. Requests for

adjournment of the IPTC will not necessarily be granted on the ground that one or more

Defendants have not been served or answered prior to the scheduled IPTC.

       4.      No later than December 27, 2019, the parties must meet and confer for at least

one hour in a good-faith attempt to settle this case. To the extent the parties are unable to settle

the case themselves, the parties must also discuss whether further settlement discussions through

the District’s court-annexed mediation program or before this case’s assigned Magistrate Judge

would be helpful.

       5.      No later than January 2, 2020, the parties must submit a joint letter of no more

than five pages addressing the following in separate paragraphs:

       (1) a brief description of the case, including the factual and legal bases for their claim(s)

       and defense(s),

       (2) the basis for subject-matter jurisdiction,

       (3) any contemplated motions, and

       (4) the prospect for settlement, including

               (i) a confirmation that the parties have met and conferred consistent with

               paragraph 3, supra, and

               (ii) whether the parties request an immediate referral to either the court-annexed

               mediation program or the case’s assigned magistrate judge.

Should the parties indicate that such a referral would be beneficial, the Court will ordinarily refer

the case immediately to either the mediation program or a magistrate judge (consistent with the

parties’ stated preference) and adjourn the IPTC for sixty days or until the parties notify the

Court that settlement efforts have failed, whichever is earlier.



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        The parties must append to their joint letter a jointly proposed Civil Case Management

Plan and Scheduling Order. The parties are directed to consult the undersigned’s Individual

Practices in Civil Cases, which may be found on the Court’s website:

http://nysd.uscourts.gov/judge/Caproni.

        6.      Before the date of the IPTC, counsel for each party must (1) register as a filing

user in accordance with the Procedures of Electronic Case Filing and (2) file a Notice of

Appearance.

        7.      Plaintiff’s counsel, or the defendant’s counsel in removed cases, is responsible for

distributing copies of this Notice to all parties.

        8.      Failure to timely comply with these procedures may result in sanctions under Fed.

R. Civ. P. 16(f), 28 U.S.C. § 1927, and/or the inherent powers of the Court.



SO ORDERED.
                                                           ________________________
                                                           _____________________ _ ____
Date: August 22, 2019                                        VALERIE CAPRONI
                                                                         CAPRON O I
      New York, New York                                    United States District Judge




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